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                                          UNITED STATES DISTRICT COURT
14
                                         NORTHERN DISTRICT OF CALIFORNIA
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16
   SARAH BLANSETTE, individually, and on                   Case No. 4:23-cv-00006-HSG
17 behalf of those similarly situated,

18                          Plaintiff,                     STIPULATION OF DISMISSAL
                                                           AND ORDER
19              v.
20 RAEL, INC.,                                             Hon. Haywood S. Gilliam, Jr.

21                          Defendant.
                                                           Date Action Filed:   January 3, 2023
22                                                         Trial Date:   Not Set
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     2610/035774-0010
     19318780.1 a07/05/23           STIPULATION OF DISMISSAL AND ORDER
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 1             Pursuant to Rule 41 of the Federal Rules of Civil Procedure, this Stipulation of Dismissal

 2 is entered into by and between plaintiff Sarah Blansette (“Plaintiff”) and defendant Rael, Inc.

 3 (“Defendant”) based on the following facts:

 4                                                       RECITALS

 5             1.           On January 3, 2023, Plaintiff initiated this action (the “Action”) by filing a

 6 Complaint captioned Sarah Blansette, individually, and on behalf of those similarly situated v.

 7 Rael, Inc., Case No. 4:23-cv-00006-HSG. (Dkt. 1.) Plaintiff filed a First Amended Complaint on

 8 April 10, 2023. (Dkt. 32.) Plaintiff alleged claims on an individual and putative class basis for

 9 (1) violation of California’s Unfair Competition Law, Business & Professions Code §§ 17200, et

10 seq., (2) violation of California’s False Advertising Law, Business & Professions Code §§ 17500,

11 et seq., (3) violation of California’s Consumer Legal Remedies Act, Civil Code §§ 1750, et. seq.,

12 and (4) unjust enrichment. Defendant denies that there is any factual or legal basis for Plaintiff’s

13 allegations.

14             2.           Following the initiation of the Action, Defendant provided information relevant to

15 the claims in the Action subject to a confidentiality agreement and Rule 408 of the Federal Rules

16 of Evidence. After dialogue concerning these matters, Plaintiff and Defendants (together, the

17 “Parties”) have reached a settlement which resolves all claims alleged by Plaintiff on an individual

18 basis.

19             3.           Pursuant to the settlement, the Parties agree that Plaintiff will dismiss all of her

20 individual claims in the Action with prejudice.
21             4.           The Parties further agree that Plaintiff will dismiss her putative class claims

22 without prejudice. Plaintiff has not filed a motion for class certification, and no class has been

23 certified in this action, such that the notice requirements of Rule 23(e) of the Federal Rules of

24 Civil Procedure are inapplicable.

25             5.           The Parties agree that they are each to bear their own attorneys’ fees and costs with

26 respect to this action.

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 1                                                    STIPULATION

 2             Based on the foregoing, the Parties stipulate and request that the Court dismiss the above-

 3 captioned action in its entirety, with each Party to bear their own attorneys’ fees and costs, as

 4 follows:

 5             1.           Plaintiff’s individual claims asserted in this action shall be dismissed with

 6 prejudice.

 7             2.           Plaintiff’s putative class claims shall be dismissed without prejudice.

 8             IT IS SO STIPULATED.

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11 Dated: July 5, 2023                                         RUTAN & TUCKER, LLP

12
                                                               By: /s/ Lucas K. Hori
13                                                                 Lucas K. Hori
                                                                   Attorneys for Defendant
14                                                                 RAEL, INC.

15 Dated: July 5, 2023                                         GOOD GUSTAFSON AUMAIS LLP

16
                                                               By: /s/ J. Ryan Gustafson
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                                                                   J. Ryan Gustafson
18                                                                 Attorneys for Plaintiff
                                                                   SARAH BLANSETTE
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 1                                                ORDER

 2             Based on the stipulation of the parties and for good cause shown, the Court ORDERS that

 3 the above-captioned action is hereby dismissed in its entirely, with each Party to bear their own

 4 attorneys’ fees and costs. Plaintiff’s individual claims are dismissed with prejudice and Plaintiff’s

 5 putative class claims are dismissed without prejudice.

 6             IT IS SO ORDERED.

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 8    Dated: 7/6/2023

 9                                                          HON. HAYWOOD S. GILLIAM, JR.
                                                                United States District Judge
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